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RENATA SE|FERT and W- n 571 TN, ME?“."¢-"'*'l'$
HORST SE|FERT,

Plaintiffs,
Vs. No. 04-2336- BP
LASIK VIS|ON |NST|TUTE, C|ass Action
Jul_'y Trial Demanded
Defendant.

RENATA SE|FERT and
HORST SE|FERT,

Plaintiffs,
Vs.
MUSA HOLD|NGS, |NC.; LASER V|S|ON
|NST|TUTE DIBIA LAS|K V|SION lNST|TUTE;
DAV|D S. MURPHY, M.D.,

Defendants.

 

ORDER AMEND|NG SCHEDULlNG ORDER

 

This matter came on to be heard upon the joint motion of the parties to amend the
Schedu|ing Order, for good cause shown, and upon the entire record in the cause from all
of Which the Court finds that said motion is We|| taken and the following deadlines are
hereby established:

1. Discovery related to the issue of class certification and Whether the Rule 23

requirements are met: Ju|y 10, 2005

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2. Dead|ine for Plaintiffs to file motion for class certification: August 10, 2005
3. Dead|inefor Defendants to respond to class certification: September10, 2005

lT SO ORDERED,ADJUDGED AND DECREED thisthe l 72 day Of F§Ul;Q ,

2005. m\

TU l\/l. PHAl\/l
United States Magistrate Judge

N:\DHT\2003\03-445T\P|eadings\Order Amend Schedu|ing Order 6-9-05.wpd

 

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This notice confirms a copy of the document docketed as number 42 in
case 2:04-CV-02336 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

